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                           THE UNITED STATES DISTRICT COURT
                          FOR THE WESTERN DISTRICT OF TEXAS
                                   AUSTIN DIVISION

UNITED STATES COMMODITY                           §
FUTURES TRADING COMMISSION,                       §
                                                  §
                   Plaintiff,                     §
                                                  §
v.                                                §          Civil Action No. A-12-CV-0862-LY
                                                  §
SENEN POUSA, INVESTMENT                           §
INTELLIGENCE CORPORATION,                         §
DBA PROPHETMAX MANAGED FX,                        §
JOEL FRIANT, MICHAEL DILLARD, and                 §
ELEVATION GROUP, INC.,                            §
                                                  §
                   Defendants.                    §

          RECEIVER’S STATUS UPDATE AND NOTICE OF FULLY BRIEFED
                           UNOPPOSED MOTIONS

       Comes now, Guy M. Hohmann, the Court-appointed Receiver in the above-referenced

ProphetMax Receivership matter and the ancillary IB Capital matter and files this his Status

Update and Notice of Fully Briefed Unopposed Motions.

                                Riknik USD $7.2 million judgment

       On December 7, 2020, a district court in Slovakia issued an order recognizing the

approximate USD $7.2 million dollar judgment against Riknik. The order also appointed an

enforcement agent. Once, the Slovakian court sends the order to the registered seat of Riknik, it

then has fifteen (15) days to file an objection. During that time-frame, if no objection is filed, the

bank will then wire transfer the funds to the enforcement agent who will in turn wire transfer the

funds to the Receiver.
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            Assignments from Neotex Advanced, Ltd. and Essadia Moutaouakkil

        As noted in the Receiver’s October Status Report, counsel for Banque Populaire

outlined a process for repatriating the approximate USD $4.5 million which is on deposit in

Morocco. The first step in the process was to have the assignment agreements re-executed in the

Moroccan Consulate (in Lile, France in the case of Essadia Moutaouakkil and in either New

York or Washington D.C in the case of the Receiver). Over the last few months and on multiple

occasions, the Receiver or his representatives phoned and emailed representatives of the above

referenced Moroccan Consulates. No response has been recognized or received. The most recent

email was sent on January 25, 2021. If no response is received within the next ten (10) days, the

Receiver will likely seek permission of the Court to employ an international collection agent to

pursue repatriation, on a contingency fee basis.

                       Status of Restoration Proceedings for Maverick

       The proceeding in the United Kingdom (“UK”) has been abated until such time as this

Court rules on the Receiver’s Motion for Clarification, as discussed more fully below.

                                  Status of Dutch proceeding

       The Court of Appeal at the Hague on December 9, 2020, rejected the Receiver’s Complaint

against the settlement between the Dutch State and ING Bank. According to the Receiver’s Dutch

counsel there are significant findings in the Court’s ruling that would aid the Receiver in any

ensuing civil litigation against ING, if he is unable to resolve those claims in ongoing settlement

discussions. The observations from the Receiver’s Dutch counsel are noted below:




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   -   In the judgments a court for the first time holds that ING committed a crime, holds that

       this was structural/systemic and very serious, holds that throughout the period 2010-2016

       ING knew that it’s Know Your Customer systems did not comply and consciously

       accepted the risk of facilitating illegal use of its bank accounts. These considerations of

       the court will assist the investors in a civil action against ING, as it confirms that

       ING’s breaches were wanton/conscious.

   -   The court has not held that the investors do not have a claim against ING, but has actually

       held that this claim is too complex to bring before the criminal court and has basically

       referred the matter to the civil court.

                            Settlement Discussions with ING Bank

       During December 2020 and January 2021, the Receiver, through his Dutch Counsel has

been involved in settlement discussions with ING Bank. ING Bank has requested certain

documents and information in order for the settlement dialogue to continue. The Receiver, with

the assistance of the Dutch Public Prosecutor’s Office and his U.S. counsel, has provided the

requested documents and information. The Receiver expects the settlement communications with

ING to continue and hopefully conclude within the next 60-90 days.

                         Notice of Fully Briefed Unopposed Motions

The following fully briefed unopposed motions are before the Court:

   Background on a pending draft Order before the Court:

       The Receiver submitted the Motion to Appoint the National Futures Association as

Monitor [Dkt. #167] on March 27, 2020.




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         On April 22, 2020, the Court requested “… The parties shall submit to the court for

approval a proposed agreed order granting the motion and appointing National Futures

Association Monitor in this case by May 6, 2020…”

                •    On May 4, 2020 [Dkt. #175], the Receiver submitted the Agreed Order
                     Granting Unopposed Motion to Appoint the National Futures Association As
                     Monitor to Court

         On May 8, 2020, the Receiver submitted [Dkt. #176] the Interim MOTION for

Disbursement of Funds and [Dkt. #176-1] and the Receiver's Proposed Order for Approval of

Interim Distribution Plan.

         On May 18, 2020, the Receiver submitted [Dkt. #178] an Amended Proposed Order

Amended Proposed Order Granting Receiver’s Unopposed Motion for Approval of Interim

Distribution Plan.

         On July 22, 2020, The Court held a Status Conference requesting the Receiver submit to

the Court a draft proposed order combining two previously submitted Orders into one combined

Order:

   1. [Dkt. #178] Amended Proposed Order re [Dkt. #176] Interim MOTION for Disbursement
      of Funds by Guy M. Hohmann

   2. [Dkt. #175] Agreed Order Granting Unopposed Motion to Appoint The
      National Futures Association As Monitor was submitted to Court
                •    On July 27, 2020, the Receiver submitted to the Court’s Clerk via email a
                     draft Amended Proposed Combined Agreed Order Granting Unopposed
                     Motion To Appoint The National Futures Association as Monitor and For
                     Approval of Interim Distribution Plan.

         Reinstatement Proceedings for IB Capital FX LLP

         On July 24, 2020, the Receiver submitted [Dkt. #184] Motion for Clarification.




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       Background on Motion for Clarification:

       As noted in previous status reports, the Receiver’s UK Counsel informed the Receiver the

judge presiding over the reinstatement proceeding sought clarification from this Court as to the

Receiver’s appointment over the UK entity, IB Capital FX LLP (NZ). The court in the UK has

abated its proceeding until such time as this Court rules on the Receiver’s Motion for

Clarification [Dkt. #184], asking the Court to find IB Capital FX LLP an affiliate of IB Capital

FX (NZ) LLC.

   The following Motions for Disbursement of Funds remain pending:

   1. September 9, 2020, [Dkt. #190] - Motion for Approval to Pay Expenses for the
      Receiver’s Counsel in the Netherlands, Paralegals and expenses occurred by the
      Receivership estate through August 1 – August 31, 2020.
   2. October 13, 2020, [Dkt. #191] - Motion for Approval to Pay Expenses for the Receiver’s
      Counsel in the Netherlands, UK Counsel, Paralegals and expenses occurred by the
      Receivership estate through September 1 – September 30, 2020.
   3. November 13, 2020, [Dkt. #193] - Motion for Approval to Pay Expenses for the
      Receiver’s Counsel in the Netherlands, UK Counsel, US Counsel and Paralegals through
      October 1 – October 31, 2020.
   4. January 11, 2021 [Dkt. #194] - Motion for Approval to Pay Expenses for the Receiver’s
      Counsel in the Netherlands, US Counsel and Paralegals through November 1 – December
      31, 2020.
                                        CONCLUSION

       The next status report will be submitted to the Court on July 31, 2021. If significant

developments occur in the interim, the Receiver will file a report before July 31, 2021.




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                                           Respectfully submitted,
                                           GUY HOHMANN

                                           By: /s/ Guy Hohmann
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                                           RECEIVER FOR THE PROPHETMAX AND
                                           IB CAPITAL RECEIVERSHIP ESTATES

                                  CERTIFICATE OF SERVICE

         On January 29, 2021, I electronically submitted the foregoing document with the
Clerk of the Court of the U.S. District Court, Western District of Texas, using the electronic
case filing system of the court. I hereby certify that I have served all counsel and/or pro se
parties of record electronically or by another manner authorized by Federal Rule of Civil
Procedure 5(b)(2).

                                           /s/ Guy Hohmann
                                           Guy Hohmann




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